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                                                                                                11/6/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
MADELINE WASHINGTON,                                                    :
                                                                        :
                                    Plaintiff,                          :   ORDER
                                                                        :
                  -v-                                                   :   20-CV-8460 (PAE) (JLC)
                                                                        :
ANDREW M. SAUL,                                                         :
Commissioner, Social Security Administration,                           :
                                                                        :
                                    Defendant.                          :
------------------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        On November 5, 2020, the Court received by mail an affidavit of service from

plaintiff, which mistakenly indicates that plaintiff has served the Court instead of

the Commissioner. To date, plaintiff has not filed proof of service on the docket to

establish that she has served the Commissioner. Accordingly, plaintiff is directed to

serve the summons and complaint on the Commissioner and file a proof of service

no later than November 20, 2020.

        SO ORDERED.

Dated: November 6, 2020
       New York, New York




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